        Case 5:19-cr-40070-HLT-ADM Document 54 Filed 11/27/19 Page 1 of 3




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                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF KANSAS

United States v. Henry Clark, et. al.,                             No. 19-cr-40068-HLT-01/09

United States v. Dontae Patterson, et. al.,                        No. 19-cr-40069-HLT-01/21

United States v. Kevin Henderson, et al.,                          No. 19-cr-40070-HLT-01/05

United States v. Christopher Williams, et. al.,                    No. 19-cr-40071-HLT-01/07

United States v. Paige Jonas et. al.,                              No. 19-cr-40072-HLT-01/04

United States v. Fredrick Swinson,                                 No. 19-cr-40073-HLT

United States v. John Thompson,                                    No. 19-cr-40074-HLT

United States v. Daniel Mainville,                                 No. 19-cr-40075-HLT

United States v. Chanel Toliver,                                   No. 19-cr-40076-HLT

United States v. Damon Brown,                                      No. 19-cr-40077-HLT

United States v. Jason Simonds,                                    No. 19-cr-40078-HLT

United States v. Jerah Gasser,                                     No. 19-cr-40079-HLT

United States v. James Atkinson,                                   No. 19-cr-40080-HLT



                          GOVERNMENT’S SECOND STATUS REPORT
                            (RE: COURT’S PROTECTIVE ORDER1)


         COMES NOW, the United States of America, by and through Assistant United

States Attorney, Skipper Jacobs, and provides the Court with its Second Status

Report concerning the protective order(s) issued in the above-captioned cases. 2


1
   Clark et. al., at Doc. 74; Patterson, et. al., at Doc. 177; Henderson et. al., at Doc. 34; Williams et. al., at Doc. 63;
Jonas et. al. at Doc. 39; Swinson, at Doc. 18; Thompson, at Doc. 15; Mainville, at Doc. 15; Toliver, at Doc. 18;
Brown et. al. at Doc. 19; Simonds, at Doc. 18; Gasser, at Doc. 21; Atkinson, at Doc. 16.
2
  Id.

                                                             1
        Case 5:19-cr-40070-HLT-ADM Document 54 Filed 11/27/19 Page 2 of 3




         The Court has issued protective orders in the above-captioned cases concerning

five categories of materials identified as “Item 1” through “Item 5.” 3 With respect to

the materials identified as “Item 1” and “Item 5” the government was obligated to

provide the Court with a status report every sixty (60) days. 4

         On or about November 5, 2019, the United States provided its First Status

Report in the above cases informing the Court that “Item 1” materials no longer

required redactions or deferral and were produced to the court appointed coordinating

discovery attorney. 5 In turn, the Court issued an amendment to the Protective Order

removing the government’s requirement to provide status updates with respect to

Item 1 materials. 6

          The materials identified as “Item 5” concern materials that, at the time of the

government’s application, were related to an ongoing investigation. 7 Specifically, the

Court authorized the government to defer discovery of all “Item 5” materials. 8

         The government submits that deferral of “Item 5” materials is still required.

The government provides its basis for continued deferral in an ex parte written

statement pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure for the

Court’s review in camera. The government’s ex parte written statement will be




3
  Id.
4
  Id.
5
  See e.g. United States v. Gasser, No. 19-cr-40079-HLT at Doc. 22.
6
  See e.g. Id. at Doc. 24.
7
  Id.; See also ex parte “written statement” submitted to the Court in support of Motion for Protective Order pursuant
to Fed. R. Crim. P. 16(d).
8
  Clark et. al., at Doc. 74; Patterson, et. al., at Doc. 177; Henderson et. al., at Doc. 34; Williams et. al., at Doc. 63;
Jonas et. al. at Doc. 39; Swinson, at Doc. 18; Thompson, at Doc. 15; Mainville, at Doc. 15; Toliver, at Doc. 18;
Brown et. al. at Doc. 19; Simonds, at Doc. 18; Gasser, at Doc. 21; Atkinson, at Doc. 16.

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      Case 5:19-cr-40070-HLT-ADM Document 54 Filed 11/27/19 Page 3 of 3




provided to chambers via email and submitted contemporaneously to the filing of the

instant Second Status Report.

                                              Respectfully submitted,

                                              s/Skipper S. Jacobs
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 27th day of November, 2019, I electronically filed

the foregoing Motion with the Clerk of the Court by using the CM/ECF system

which will send an electronic copy to counsel of record.



                                        /s/Skipper S. Jacobs
                                        Skipper S. Jacobs, #26848
                                        Assistant United States Attorney




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